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                                                                           Appendix A1

I.        VEIL PIERCING CHOICE OF LAW

        To date, cases against TPG have been filed in 18 states; 16 of the 18 (accounting for over 98% of the total cases against TPG)
look to the state of incorporation’s substantive law. The choice-of-law authority for each of those 16 forums is identified below. Here,
the relevant states of incorporation are Florida (i.e., Exactech, see AC ¶¶ 18-19) and Delaware (i.e., the existing Osteon entities and TPG
Inc., see id. ¶¶ 24, 32, 35). Delaware and Florida standards for veil-piercing are similar:

      •   Manichaean Cap., LLC v. Exela Techs., Inc., 251 A.3d 694, 706 (Del. Ch. 2021) (finding “Delaware public policy disfavors
          disregarding the separate legal existence of business entities” and veil-piercing is proper only in “‘exceptional case[s]’”) (internal
          citations and quotations omitted, emphases added);

      •   Omega Psi Phi Fraternity, Inc. v. HCE Grp. of Cos., Inc., 2011 WL 13228098, at *3 (S.D. Fla. Oct. 19, 2011) (“Florida courts
          are reluctant to pierce the corporate veil and will do so only in exceptional cases where there has been extreme abuse of the
          corporate form.”) (internal quotations omitted, emphases added).

      Forum (#                                                          Authority: Choice-of-Law Rule
     of Claims)2

       AL (2)       Charter Servs., Inc. v. DL Air, LLC, 711 F. Supp. 2d 1298, 1306 n. 13 (S.D. Ala. 2010) (applying the law of the state
                    of incorporation and collecting cases).

       AR (4)       Container Life Cycle Mgmt. LLC v. Safety Mgmt. Servs. Co., 2020 WL 2843224, at *4, 6 (W.D. Ark. June 1, 2020)
                    (holding “Arkansas’s highest court would apply the law of the state of incorporation to the veil-piercing inquiry” like

1
          This Appendix and Appendix B reflect Plaintiffs’ claims against TPG that have been consolidated in the MDL as of June 6, 2023.
2
         The relevant forums are either (1) the forums where the MDL cases were transferred from or (2) in the case of direct filings, the “Original District” that
each Plaintiff selected. In contravention to this Court’s Order, approximately half of the Plaintiffs who filed directly in the MDL against the TPG Defendants either
did not identify an “Original District” or identified more than one “Original District.” See ECF No. 74 at 2 (“Any Plaintiff who files a complaint directly in this
Court pursuant to this Direct Filing Order shall designate in the Master Short Form Complaint the federal district in which the complaint should be deemed to have
otherwise been originally filed absent this Direct Filing Order (hereinafter, the ‘Original District’).”). Given these Plaintiffs’ failure to follow the Court’s Order,
for purposes of this analysis only and reserving all rights, TPG assumes the “Original District” would be the states the Plaintiffs resided in at the time of filing.


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          the “majority of jurisdictions” and denying motion to dismiss in part given allegations, not present here, that the
          relevant entities “operated as if they were a singular business entity”).

CA (1)    Leitner v. Sadhana Temple of New York, Inc., 2014 WL 12588643, at *16 (C.D. Cal. Oct. 17, 2014) (“Several
          California district courts have ... found that the law of the state of incorporation should be applied.”) (collecting
          cases).

CO (1)    Echostar Satellite Corp. v. Ultraview Satellite, Inc., 2009 WL 1011204, at *7 (D. Colo. Apr. 15, 2009) (applying
          “Colorado choice of law principles” and, therefore, “the law of the state of incorporation”).

CT (8)    Haina Inv. Co. Ltd. v. InterEnergy Grp. Ltd., 2021 WL 4481204, at *4-5 (Conn. Super. Ct. Sept. 8, 2021) (“[T]his
          Court finds that for the purposes of corporate veil-piercing, Delaware law applies as it is the law of the jurisdiction in
          which [the defendant] was incorporated.”).

FL (1)    Parker v. Ahmsi Ins. Agency Inc., 2019 WL 13178508, at *9 n.10 (S.D. Fla. Aug. 2, 2019) (“In deciding whether
          plaintiffs have pled sufficient facts to pierce Homeward’s corporate veil, the law of the state of Homeward’s
          incorporation—Delaware—applies.”).

KY (1)    EiA Props., LLC v. Fenwick Equestrian, LLC, 2015 WL 5698540, at *3 (E.D. Ky. Sept. 28, 2015) (“In a traditional
          corporate veil piercing case, Kentucky courts apply Restatement (Second) of Conflict of Laws § 307, which states that
          ‘[t]he local law of the state of incorporation will be applied ….’”).

LA (17)   Eddie Tourelle’s Northpark Hyundai, LLC v. Hyundai Motor Am. Corp., 2019 WL 6701305, at *5 (E.D. La. Dec. 9,
          2019) (“Under Louisiana’s choice-of-law rules, the law of the state of incorporation governs a request to pierce the
          corporate veil.”) (internal citations and quotations omitted).

ME (22)   GMAC Com. Mortg. Corp. v. Gleichman, 84 F. Supp. 2d 127, 132, 139 n.7 (D. Me. 1999) (holding the substantive
          “law presumptively applied” to a veil piercing claim is “the law of the place of incorporation” and denying summary
          judgment where, unlike here, plaintiff alleged defendant created another corporate entity, caused that entity to “not
          perform its contractual obligations,” and then “dissolve[d]” that corporate entity to “deprive[] [plaintiff] of its ability
          to recover damages” for the breach) (internal citation omitted).




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    NJ (22)         Diebler v. SanMedica Int’l, LLC, 2021 WL 5013617, at *8 (D.N.J. Oct. 28, 2021), aff’d, 2022 WL 16552777 (D.N.J.
                    Oct. 31, 2022) (applying the laws of the state of incorporation to a veil piercing claim and noting “[u]nder New Jersey’s
                    choice-of-law rules, the law of the state of incorporation governs internal corporate affairs”) (internal citations and
                    quotations omitted).3

    NY (58)         Panam Mgmt. Grp., Inc. v. Pe𝑛a, 2011 WL 3423338, at *3 (E.D.N.Y. Aug. 4, 2011) (“New York’s choice-of-law
                    doctrine dictates that ‘the law of the state of incorporation determines when the corporate form will be disregarded.’”)
                    (internal citation omitted).

     NC (3)         Young v. Carter, 2020 WL 525930, at *3 (E.D.N.C. Jan. 31, 2020) (applying the law of the state of incorporation as
                    “[s]everal district courts … previously have concluded that the North Carolina Supreme Court would likely apply the
                    law of the state of incorporation to the issue of veil piercing”).

    OH (1)          NetJets Aviation, Inc. v. Perlman, 2022 WL 17741063, at *8 (S.D. Ohio Dec. 16, 2022) (“Ohio law directs courts to
                    apply ‘the law of the state of incorporation when determining issues of veil-piercing.’”) (denying motion to dismiss
                    where, unlike here, plaintiff alleged subsidiary “had no real existence of its own” and defendant “control[led] and
                    manipulat[ed] [that subsidiary] to the point that [the defendant] could frustrate creditors by … declaring [that entity]
                    insolvent” at whim) (internal citation omitted).




3
          Diebler notes that “[c]ourts within this district have also applied the law of ‘the state that has the most significant connection with the parties and the
transaction.’” 2021 WL 5013617, at *8 (internal citation omitted). Even if the Court applied that analysis, the New Jersey Plaintiffs’ claims still fail. For Plaintiffs
who originally filed in New Jersey (or who filed directly in the MDL and designated an Original District there), the state with the “most significant connection to
the parties and the transaction” may be—in addition to Delaware or Florida—New Jersey (i.e., the New Jersey Plaintiffs’ domicile) or New York (i.e., where all
the New Jersey Plaintiffs allege the implant surgeries occurred, see App’x B). But because “New Jersey’s veil-piercing framework is substantially similar to that
of ... Delaware,” Fagan v. Fischer, 2019 WL 5587286, at *23 n.13 (D.N.J. Oct. 30, 2019), and because “[t]he standards for piercing the corporate veil are
substantially similar under Delaware and New York law,” Cohen v. Schroeder, 248 F. Supp. 3d 511, 518 n.4 (S.D.N.Y. 2017), aff’d, 724 F. App’x 45 (2d Cir.
2018) (internal citation omitted), the New Jersey Plaintiffs’ claims still fail. See also Linus Holding Corp. v. Mark Line Indus., LLC, 376 F. Supp. 3d 417, 425
(D.N.J. 2019) (“In the absence of extraordinary circumstances, such as fraud or injustice, a court will generally decline to pierce the corporate veil. The party
seeking an exception to the fundamental principle that a corporation is a separate entity from its principal bears the burden of showing that the court should disregard
the corporate entity.”) (internal citation omitted, emphases added); Apex Mar. Co. v. OHM Enterprises, Inc., 2011 WL 1226377, at *2 (S.D.N.Y. Mar. 31, 2011)
(“Piercing the corporate veil is a narrow exception to the doctrine of limited liability for corporate entities, and ... courts should permit veil-piercing only under
extraordinary circumstances.”) (emphases added, internal citation omitted).



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TN (18)   United States ex rel. Fry v. Guidant Corp., 2008 WL 11510789, at *2 (M.D. Tenn. Aug. 27, 2008) (“[In] Tennessee
          … the law of the state of incorporation determines whether or not to recognize the corporate form.”).

TX (1)    Judson Atkinson Candies, Inc. v. Latini-Hohberger Dhimantec, 529 F.3d 371, 378 (7th Cir. 2008) (“Texas[’s] …
          choice-of-law rule for veil-piercing claims … [is] that the law of the state of incorporation governs such claims.”).

VA (1)    Jones v. Bank of Am. Corp., 2010 WL 6605789, at *10 (E.D. Va. Aug. 24, 2010) (“Under Virginia law, ‘the law of the
          state of incorporation ... determine[s] whether the corporate veil may be pierced.’”) (internal citation omitted).




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       One case has been filed against TPG in each of the remaining two states, Georgia and South Carolina. Each state’s choice-of-
law analysis points to substantive state law with a similarly high bar to the other claims applying Delaware or Florida law.

    Forum (# of                                                          Authority: Choice-of-Law Rule
      Claims)

      GA (1)        Choice-of-Law Rule: Place of Wrong. Multi-Media Holdings, Inc. v. Piedmont Ctr., 15 LLC, 262 Ga. App. 283,
                    286, 583 S.E.2d 262, 265 (2003) (noting “Georgia will continue to adhere to the traditional conflict of law rules” in a
                    veil-piercing context) (internal citation omitted); see generally Auld v. Forbes, 309 Ga. 893, 894 (2020) (“Georgia
                    has followed the doctrine of lex loci delicti in tort cases, pursuant to which a tort action is governed by the substantive
                    law of the state where the tort was committed.”) (internal citations and quotations omitted).

                    Applicable State Law: GA; the Plaintiff who originally filed in Georgia resides in Georgia and alleges the implant
                    surgery occurred in Georgia. See App’x B.

                    Exceptionally High Standard to Veil Pierce: EnduraCare Therapy Mgmt., Inc. v. Drake, 681 S.E.2d 168, 171 (Ga.
                    Ct. App. 2009) (“[C]ourts are reluctant to disregard the separate existence of related corporations by piercing the
                    corporate veil, and have consistently given substantial weight to the presumption of separateness,” disregarding that
                    presumption “only in exceptional circumstances.”) (internal citation omitted, emphases added).

                    Similar Analysis as Delaware: Katz v. Spiniello Cos., 244 F. Supp. 3d 237, 254 (D. Mass. 2017) (declining to
                    identify which law applies because “Georgia, Delaware [and] Massachusetts [veil piercing law] does not materially
                    differentiate the analysis or result in this case” as “Delaware employs a similar standard” to “Georgia law”).

      SC (1)        Choice-of-Law Rule: Government Interest Analysis. Duong v. N. Am. Transp. Servs. LLC, 2019 WL 13109647,
                    at *10 (D.S.C. Sept. 25, 2019) (applying South Carolina law as the law of the state whose “policies would be advanced
                    by having its laws applied to the facts of the case”) (internal citations and quotations omitted).4

                    Applicable State Law: SC or FL; the Plaintiff who designated South Carolina as its Original District resides in South
                    Carolina but alleges the implant surgery occurred in Florida. See App’x B.


4
        In this test, the court considers the policies underlying the law of each state and applies the law of the place that has the greatest interest in the litigation.


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 Exceptionally High Standard to Veil Pierce: Sturkie v. Sifly, 313 S.E.2d 316, 318 (S.C. Ct. App. 1984) (“It is settled
 authority that the doctrine of piercing the corporate veil is not to be applied without substantial reflection.”) (internal
 citation omitted, emphasis added); Omega Psi Phi Fraternity, 2011 WL 13228098, at *3.

 Similar Analysis as Delaware: Duong, 2019 WL 13109647, at *10 n.7 (holding “the veil-piercing analysis under
 South Carolina law and Delaware law is substantially similar” given that both require the plaintiff to plausibly
 allege a “combination of the factors” and “an overall element of injustice or unfairness”) (internal citation omitted).




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II.      SUCCESSOR LIABILITY CHOICE OF LAW

         As TPG explained in its brief, the Court need not engage in a choice-of-law analysis for successor liability given successor
liability principles are consistent across jurisdictions, and Plaintiffs’ claims fail regardless. See, e.g., Ronnoco Coffee, LLC v. Westfeldt
Bros., Inc., 939 F.3d 914, 920 (8th Cir. 2019) (noting the “well-settled general rule[s]” for substantive successor liability law have been
“adopted in virtually every State”); Asarco, LLC v. Union Pac. R.R. Co., 2017 WL 639628, at *17 (D. Idaho Feb. 16, 2017) (citing
Atchison, Topeka & Santa Fe Ry. Co. v. Brown & Bryant, Inc., 159 F.3d 358, 364 (9th Cir. 1997)) (“Successor liability law is largely
consistent across the states and federal courts.”).

        Across the 18 forums where cases have been filed against TPG, four choice-of-law frameworks apply: (i) the law of the state of
incorporation or place of contract; (ii) the law of the place of wrong; (iii) the law of the state with the most significant contacts; or (iv)
for the 1 Plaintiff filing from Kentucky, the law of Kentucky if there are any contacts with Kentucky. Importantly, regardless of the
forum or law applied, courts uniformly hold that “if the original entity” (here, Exactech) “still exists, there is no successor—and no
successor liability.” In re Welding Fume Prod. Liab. Litig., 2010 WL 2403355, at *1, 7 (N.D. Ohio June 11, 2010) (collecting cases
and dismissing “all” successor liability claims against parent-company defendant without any choice-of-law analysis) (emphases added).

    Forum      Applicable                       Authority: Choice-of-Law Rule5                             Authority: Where The Acquired Company Is
     (# of     Substantive                                                                                    Still In Business (Here, Exactech), No
    Claims)     State Law                                                                                           Successor Liability Attaches

                                          Choice-of-Law Rule: Place of Incorporation / Place of Contract

    CA (1)        DE, FL          Maine State Ret. Sys. v. Countrywide Fin. Corp., 2011                    Stayton v. Clariant Corp., 2013 WL 5783814,
                                  WL 1765509, at *3-4 (C.D. Cal. Apr. 20, 2011)                            at *3 (Del. Super. Ct. Aug. 13, 2013), aff’d,
                                  (California follows Restatement (Second) Conflicts of                    2014 WL 28726 (Del. Jan. 2, 2014) (evaluating

5
         As explained in TPG’s brief, given that Exactech “continue[d] in existence” post-merger, it maintains its liabilities and no successor liability attaches
regardless of the state law that applies. 15 Fletcher Cyc. Corp. § 7121 (“In the case of a merger of one or more corporations into another, where one or more of
the corporations ceases to exist and another continues in existence, the latter corporation is liable for the debts, contracts and torts of the former ….”) (emphases
added). To the extent a choice-of-law analysis is relevant, cases discussing choice of law for successor liability claims primarily do so in the context of asset sales
instead of in the context of formal mergers (as appears to be alleged here, see generally AC). TPG is not aware of cases differentiating choice-of-law analyses
based on whether an asset sale or merger is at issue, and therefore includes available cases from both contexts. In any event, this does not change the substantive
analysis: the “general rule, which is well settled, is that where one company sells or otherwise transfers all its assets to another company, the latter is not liable for
the debts and liabilities of the transferor.” 15 Fletcher Cyc. Corp. § 7122.



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                  Laws § 307 which provides that successor liability is        successor liability for surviving entity following
                  “peculiar to corporations” and so the state with the         merger where predecessor and “original
                  most interest in such a claim is “the state of               tortfeasor” had “dissolved” and finding
                  incorporation”) (internal citation omitted).                 successor liability only for the entity designated
                                             ***                               as the “surviving” corporation); Yuetter-
                                                                               Beacham v. Med. Career Inst. of S. Fla., Inc.,
                  Ramirez v. Chip Masters, Inc., 2014 WL 1248043, at           2017 WL 10775771, at *7-8 (S.D. Fla. Oct. 18,
                  *6 (E.D.N.Y. Mar. 25, 2014) (declining to make               2017) (granting motion to dismiss and finding
                  choice-of-law decision because “New York law and             “no basis for imposing successor liability”
                  California law are substantially similar on the              where plaintiffs tried to hold the owner liable
                  determination of successor liability” and the “Court’s       despite “acknowledg[ing] in the Amended
                  analysis of successor liability remains unchanged            Complaint that ‘[t]he surviving business entity
                  regardless of whether New York law or California law         following the New Jersey Merger/Consolidation
                  applies”) (emphasis added).                                  was’” the same primary alleged wrongdoer
                                                                               against whom plaintiffs’ substantive claims had
                                                                               already succeeded); Patin v. Thoroughbred
                                                                               Power Boats, Inc., 294 F.3d 640, 644-45 n.8
                                                                               (5th Cir. 2022) (applying Florida law)
                                                                               (affirming successor liability where one
                                                                               company “ceased manufacturing and selling
                                                                               pleasure boats” the same month that the
                                                                               successor “began manufacturing and selling
                                                                               pleasure boats” that “were essentially the same
                                                                               boats,” and the owner of both the predecessor
                                                                               and successor “did not provide a satisfactory or
                                                                               believable rational [sic] for the transformation
                                                                               of” one company to the other, or the transfer of
                                                                               assets from one to the other).
FL (1)   DE, FL   Action Nissan, Inc. v. Hyundai Motor Am., 2020 WL            Id.
                  7419669, at *6 (M.D. Fla. Nov. 5, 2020) (holding that
                  “[c]laims involving ‘internal affairs’ of corporations ...
                  are subject to the laws of the state of incorporation”
                  and concluding that, because the “question of successor


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                                liability involves [corporations’] internal affairs,” it
                                must apply the law of the state of incorporation)
                                (internal citation omitted).
    LA (17)      DE, FL         Patin, 294 F.3d 640, 647 (holding “the Louisiana State Id.
                                Supreme Court would most likely conclude that the law
                                of the state of incorporation governs the determination
                                [of] when to pierce a corporate veil” and finding
                                successor liable where plaintiffs made substantial
                                allegations beyond those pled here).

    NY (58)      DE, FL         Randle v. AC Asset Servs. LLC, 2022 WL 2680079, at          Id.
                                *2 n.2 (W.D.N.Y. July 12, 2022) (“Under New York
                                choice-of-law rules, it is the law of the successor’s state
                                of incorporation that typically determines successor
                                liability.”) (internal citations omitted).

                                                                ***

                                Fischer v. Prodigi, Inc., 2007 WL 2815494 (N.Y. Sup.
                                Ct. July 23, 2007) (holding the “court need not address
                                the choice of law issue” because the “laws of Delaware
                                and New York are substantially the same on the issue
                                of successor liability” and denying motion to dismiss
                                where plaintiff alleged defendant structured a
                                transaction so it “could escape its contractual
                                obligations” by leaving the predecessor “without the
                                financial wherewithal to pay the amounts due and
                                owing”) (emphasis added).

    TN (18)         FL6         Bonee v. L & M Constr. Chems., 518 F. Supp. 375,                      Id.
                                379, 381 (M.D. Tenn. 1981) (holding successor

6
         The applicable contract here is the Merger Agreement between Exactech and Osteon Merger Sub, Inc. See, e.g, AC ¶ 94 (“The Merger Agreement stated
that Defendants Exactech, Inc. and Osteon Merger Sub, Inc. will be merged, and Exactech, Inc. will be the surviving entity”). The “law that the parties intended,”


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                                liability is a contract law issue so successor liability is
                                “governed by the law that the parties intended” and
                                denying defendant’s summary judgment motion based
                                on substantial allegations not present here, including
                                that “the [predecessor] ceased ordinary business
                                operations” in favor of successor’s).

                                                               ***

                                IBC Mfg. Co. v. Velsicol Chem. Corp., 187 F.3d 635 at
                                *2-3 (6th Cir. 1999) (affirming lower court’s decision
                                declining to choose between Delaware and Tennessee
                                substantive successor liability law since the “law of
                                successor liability is the same in both states” and
                                “which law applies does not change the result”)
                                (emphasis added).

    TX (1)         FL7          Ford, Bacon & Davis, LLC v. Travelers Ins. Co., 2010                 Id.
                                WL 1417900, at *5 (S.D. Tex. Apr. 7, 2010), aff’d, 635
                                F.3d 734 (5th Cir. 2011) (“Under Texas law, the
                                [applicable] agreement’s choice of law provision
                                controls the applicability of successor liability
                                doctrines.”) (internal citation omitted).




Bonnee, 518 F. Supp. at 379, as evinced by the governing law provision, is Florida law. Ex. 2, § 9.08; see generally Messer Griesheim Indus., Inc. v. Cryotech of
Kingsport, Inc., 131 S.W.3d 457, 474-75 (Tenn. Ct. App. 2003) (“Tennessee follows the rule of lex loci contractus. … If the parties manifest an intent to instead
apply the laws of another jurisdiction, then that intent will be honored ….”).
7
        The applicable contract here is the Merger Agreement between Exactech and Osteon Merger Sub, Inc. See, e.g, AC ¶ 94. The “agreement’s choice of
law provision,” Ford, Bacon & Davis, LLC, 2010 WL 1417900, at *5, provides for Florida law. Ex. 2, § 9.08.



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    VA (1)       DE, FL8         Ambrose v. Southworth Prod. Corp., 953 F. Supp. 728,                    Id.
                                 734-35 (W.D. Va. 1997) (characterizing successor
                                 liability as a contract issue and considering the “place
                                 where” the “actions and events leading to the transfer
                                 of assets … took place” and the “law of the jurisdiction
                                 where the corporation was formed,” since “[o]therwise,
                                 a corporation ... could face fifty different
                                 interpretations of successor liability” and denying
                                 summary judgment based on substantial allegations
                                 Plaintiffs do not allege here, including that the
                                 successor “continued to do business under a similar
                                 name and continued to use [predecessor’s letterhead]”)
                                 (internal citation omitted).

                                                                 ***

                                 Royal All. Assocs., Inc. v. Branch Ave. Plaza, L.P., 587
                                 F. Supp. 2d 729, 738 (E.D. Va. 2008) (declining to
                                 choose between New York and Virginia substantive
                                 successor liability law and holding such a choice would
                                 be “unnecessary … because Virginia and New York
                                 law on successor liability is essentially the same”)
                                 (emphasis added).




8
         The relevant states of incorporation reflecting the “jurisdiction where the corporation was formed” and where the “actions and events leading to the transfer
of assets took place,” Ambrose, 953 F. Supp. at 734-35 (internal citation omitted), are Florida (i.e., Exactech, see AC ¶¶ 18-19) and Delaware (i.e., the existing
Osteon entities and TPG Inc., see id. ¶¶ 24, 32, 35).



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                                                            Choice-of-Law Rule: Place of Wrong9

     AL (2)         AL10          American Nonwovens, Inc. v. Non Wovens Eng’g,                             Ray v. Judicial Corr. Servs., Inc., 2018 WL
                                  S.R.L., 648 So. 2d 565, 570 (Ala. 1994) (“The majority                    2130408, at *4-5 (N.D. Ala. May 9, 2018)
                                  of these cases” which “address[] the choice of law issue                  (finding no successor liability because the
                                  with regard to corporate successor liability in products-                 alleged tortfeasor “did not cease operations and
                                  liability cases … have held that the forum state’s conflict               liquidate after the merger” and explaining that
                                  rule for tort cases should also apply to the corporate                    “[i]f the original entity still exists, however, there
                                  successor liability issue.”); see generally Precision Gear                is no successor, and therefore, no successor
                                  Co. v. Cont’l Motors, Inc., 135 So. 3d 953, 960 (Ala.                     liability”).
                                  2013) (“Alabama law applies the rule of lex loci delicti
                                  [where the injury occurred] to determine the substantive
                                  law applicable to tort claims ….”).

                                                                    ***

                                  In re 331 Partners, LLC, 2011 WL 3440099, at *5 n.4
                                  (S.D. Ala. Aug. 8, 2011) (holding the “law of Alabama
                                  and Florida is the same regarding successor liability, so
                                  the court need not determine which state’s law applies
                                  in this case”) (emphasis added).

     AR (4)         AR11          Reed v. Armstrong Cork Co., 577 F. Supp. 246, 248 Cheatham v. Teva Pharms. USA, Inc., 2011 WL
                                  (E.D. Ark. 1983) (“The Court agrees with defendants 13315698, at *3 (E.D. Ark. May 18, 2011)
                                  that the question of [successor] liability … is tort rather (granting summary judgment for parent and

9
          Under lex loci delicti, “[t]he place of wrong is in the state where the last event necessary to make an actor liable for an alleged tort takes place.” Restatement
(First) of Conflict of Laws § 377 (1934).
10
        The Plaintiffs who originally filed in Alabama or designated Alabama as their Original District reside in Alabama and allege their implant surgeries
occurred in Alabama. See App’x B.
11
        The Plaintiffs who originally filed in Arkansas or designated Arkansas as their Original District reside in Arkansas and allege their implant surgeries
occurred in Arkansas (or fail to allege any surgery location). See App’x B.


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                                 than contract law and so the law of the situs where the finding subsidiary’s liabilities not imputed to
                                 injury occurred and plaintiff resides would control.”). parent under a successor liability theory where
                                                                                         parent and subsidiary “remain[ed] separate and
                                                                                         distinct companies”).

     GA (1)        GA12          Conservit, Inc. v. Glob. Mill Supply, Inc., 2023 WL                   LM Ins. Corp. v. Logistics Workforce Sols., Inc.,
                                 2731717, at *8 n.13 (N.D. Ga. Jan. 5, 2023) (finding                  2016 WL 5340545, at *3-4 (N.D. Ga. Feb. 2,
                                 successor liability is based on “common law principles                2016) (evaluating successor liability where the
                                 or Georgia statutes, and, for that reason, Georgia law                entity “allege[d] … [to have] breached its
                                 applies to them.”); see generally Auld v. Forbes, 309 Ga.             obligations” to plaintiff “was out of business …
                                 893, 894 (2020) (noting Georgia “follow[s] the doctrine               and dissolved” and dismissing successor liability
                                 of lex loci delicti in tort cases, pursuant to which ‘a tort          claim due to “conclusory allegation[s]”).
                                 action is governed by the substantive law of the state
                                 where the tort was committed.’”).

     NC (3)     NC, OH,          Bell v. American Int’l Indus., 2021 WL 3269595, at *3                 Atwell v. DJO, Inc., 803 F. Supp. 2d 369, 373
                 NY13            (M.D.N.C. July 30, 2021) (“North Carolina choice of                   (E.D.N.C. 2011) (holding successor liability did
                                 law rules dictate that the law of either the forum or the             not attach including because “two independent
                                 situs of the claim [i.e., where the injury occurred] should           corporations continued to exist and conduct
                                 apply ….”).                                                           business following the transaction”); Hoover v.
                                                                                                       Recreation Equip. Corp., 792 F. Supp. 1484,
                                                                                                       1495-96 (N.D. Ohio 1991) (holding that “[i]f the
                                                                                                       predecessor continued to exist as a viable
                                                                                                       business concern” then “the successor was not a
                                                                                                       mere continuation of the predecessor” and
                                                                                                       denying defendant’s motion for summary
                                                                                                       judgment where defendant “itself stated” “in its

12
         The Plaintiff who originally filed in Georgia resides in Georgia and alleges the implant surgery occurred in Georgia. See App’x B.
13
        The three Plaintiffs who designated North Carolina as their Original District reside in North Carolina but allege their implant surgeries occurred in Ohio,
New York, and North Carolina, respectively. See App’x B. Plaintiffs’ successor liability theory fails regardless of whether the Court looks to Ohio, New York, or
North Carolina law.



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                                                                                                      answer to [an] interrogatory … that [the alleged
                                                                                                      predecessor] was dissolved de facto”); Omar v.
                                                                                                      Front St. Grimaldi, Inc., 2018 WL 2121550, at
                                                                                                      *1-2, 4 (E.D.N.Y. May 8, 2018) (cited by
                                                                                                      Plaintiffs, see ECF No. 183 at 2) (weighing
                                                                                                      successor liability theory where the predecessor
                                                                                                      “became inactive” and “dissolved,” and the
                                                                                                      alleged successor company replaced it in
                                                                                                      operating the same pizza business).

     OH (1)        OH14         Hoover, 792 F. Supp. at 1491 (N.D. Ohio 1991) (holding Hoover v. Recreation Equip. Corp., 792 F. Supp.
                                that, under Ohio law, the “conflicts issue begins with the at 1495.
                                presumption that the law of … the place of injury[]
                                controls”).

     SC (1)        FL15         Grady v. Deese, 2012 WL 1106933, at *3 (D.S.C. Apr. Yuetter, 2017 WL 10775771, at *7; Patin, 294
                                2, 2012) (“[T]o the extent successor liability claims are F.3d at 645.
                                founded on tort law” “South Carolina follows the
                                doctrine of lex loci delicti ... the place where the injury
                                occurred. … [But,] to the extent successor liability turns
                                on interpretation of the contract through which [the
                                successor] acquired rights ... [the contract’s governing
                                law provision] controls.”).




14
         The Plaintiff who designated Ohio as its Original District resides in Ohio and alleges the implant surgery occurred in Ohio. See App’x B.
15
        The Plaintiff who designated South Carolina as its Original District resides in South Carolina but alleges the implant surgery occurred in Florida. See
App’x B.



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                                                    Choice-of-Law Rule: Significant Relationship16

     CO (1)      CO, DE,         Hickman v. Thomas C. Thompson Co., 592 F. Supp.                         Baca v. Depot Sales, LLC, 2007 WL 988061, at
                  FL17           1282, 1283, 1286 (D. Colo. 1984), disagreed with on                     *1, 3 (D. Colo. Mar. 30, 2007) (holding that
                                 other grounds by Florom v Elliott Mfg., 867 F.2d (1989)                 successor liability applies where the predecessor
                                 (applying “the law of the state with the most significant               corporation “ceased to exist” and the same
                                 contacts to the underlying tort” and finding successor                  individual “ran the business both before and after
                                 liability “may” apply given allegations absent here,                    the transfer,” the business’s address remained the
                                 including that the successor “continued to operate                      same, and “[n]either the business’s 800 number,
                                 [predecessor’s] enamel business selling products                        website, nor overall business practices were
                                 manufactured in the same plant, using the same                          impacted by the transfer”) (internal citation
                                 procedures and bearing the [predecessor’s] name”).                      omitted); Stayton, 2013 WL 5783814, at *3;
                                                                                                         Yuetter, 2017 WL 10775771, at *7; Patin, 294
                                                                                                         F.3d at 645.

     CT (8)      CT, NY,         Peglar & Assocs., Inc. v. Pro. Indem. Underwriters                      Lake Rd. Tr., LTD v. ABB, Inc., 2012 WL
                 DE, FL18        Corp., 2002 WL 1610037, at *3 (Conn. Super. Ct. June                    3064628, at *8-9 (Conn. Super. Ct. June 25,
                                 19, 2002) (applying “Connecticut’s own conflict of laws                 2012) (granting summary judgment and holding
                                 rules” for choice-of-law determination on successor                     “no successor liability” where the alleged

16
          Under the significant relationship test, “[c]ontacts to be taken into account … to determine the law applicable to an issue include: (a) the place where the
injury occurred, (b) the place where the conduct causing the injury occurred, (c) the domicil, residence, nationality, place of incorporation and place of business of
the parties, and (d) the place where the relationship, if any, between the parties is centered.” Restatement (Second) of Conflict of Laws § 145 (1971).
17
         The factors in the significant relationship test (supra n.16) do not uniformly point to the Plaintiff’s home state and surgery location (here, Colorado). For
example, the “place of the conduct causing the injury” (here, alleged to be Florida (see, e.g., AC ¶ 83 (“Exactech’s internal manufacturing, assembly, packaging,
and quality control operation were conducted at its principal headquarters in Gainesville, Florida”), id. ¶¶ 81, 177, 241)) and the “place of incorporation and the
place of business of the parties” (here, Delaware or Florida (AC ¶¶ 18-19, 24, 32, 35)) point to Delaware or Florida law rather than the home state. As explained
in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court applies.
18
          For the reasons explained supra nn.16-17, the factors in the significant relationship test do not uniformly point to the Plaintiffs’ home state (here,
Connecticut). Some point to Delaware or Florida law while others, at least for one Plaintiff, point to New York. For example, “the place where the injury occurred”
depends on the location of the implantation surgery; while some Plaintiffs who originally filed in Connecticut or designated Connecticut as their Original District
allege their implant surgeries occurred in Connecticut, others allege their implant surgeries occurred in New York. See App’x B. As explained in TPG’s brief,
Plaintiffs’ claims fail regardless of what state law the Court applies.


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                                 liability and considering the subject matter of the                   tortfeasor “still exists,” and “imposition of
                                 contract and the place of contracting, negotiation, and               successor liability under the mere continuation
                                 performance, as well as the domicile, residence,                      and continuity of enterprise theories requires a
                                 nationality, place of incorporation and place of business             threshold determination that the predecessor no
                                 of the parties).                                                      longer represents a viable source of relief”);
                                                                                                       Stayton, 2013 WL 5783814, at *3; Yuetter,
                                                                                                       2017 WL 10775771, at *7; Patin, 294 F.3d at
                                                                                                       645; Omar, 2018 WL 2121550, at *4.
     ME (22)     ME, DE,         See generally Flaherty v. Allstate Ins. Co., 822 A.2d                 Mahar v. Sullivan & Merritt, Inc., 2013 WL
                  FL19           1159, 1166 (Me. 2003) (applying the law of the state                  6143130, at *26 (Me. Super. Ct. July 18, 2013)
                                 with the “most significant contacts and relationships”                (finding no successor liability and noting the
                                 test “not only in tort actions, but in contract disputes as           mere continuation standard “at a minimum”
                                 well”); Ricci v. Alternative Energy Inc., 211 F.3d 157,               includes “the continued existence of only one
                                 165 (1st Cir. 2000) (citing and applying Restatement                  corporation after the sale of assets” such that “the
                                 (Second) of Conflict of Laws § 145 (1971) factors).                   purchasing corporation is merely a ‘new hat’ for
                                                                                                       the seller”) (emphasis omitted); Stayton, 2013
                                                                                                       WL 5783814, at *3; Yuetter, 2017 WL
                                                                                                       10775771, at *7; Patin, 294 F.3d at 645.

     NJ (22)    NJ, NY,          Premier Pork, LLC v. Westin Packaged Meats, Inc., 406                 Berk & Berk at Cherry Tree, LLC v. Nelson,
                DE, FL20         F. App’x 613, 615-16 (3d Cir. 2011) (“New Jersey’s                    Brown, Hamilton & Krekstein, LLC, 2019 WL
                                 choice of law rules … require application of the law of               1578803, at *3 (N.J. Super. Ct. App. Div. Apr.
                                 the state with the greatest interest in a dispute” and                12, 2019) (affirming summary judgment and
                                 considering where the “facts that [plaintiff] appears to              finding no successor liability where there was no
                                 rely upon to establish successor liability” occurred);                assumption of liabilities and the predecessor

19
         For the reasons explained supra nn.16-17, the factors in the significant relationship test do not uniformly point to the Plaintiffs’ home state and surgery
location (here, Maine). Some point to Delaware or Florida law. As explained in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court applies.
20
         For the reasons explained supra nn.16-17, the factors in the significant relationship test do not uniformly point to the Plaintiffs’ home state (here, New
Jersey). Some point to Delaware or Florida law while others point to New York. For example, “the place where the injury occurred” depends on the location of
the implantation surgery; the Plaintiffs who filed in and reside in New Jersey allege their implantation surgeries occurred in New York. See App’x B. As explained
in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court applies.



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                                see Ginsberg ex rel. Ginsberg v. Quest Diagnostics,                  “continued to operate”); Omar, 2018 WL
                                Inc., 117 A.3d 200, 218 (N.J. Super. Ct. App. Div.                   2121550, at *4; Stayton, 2013 WL 5783814, at
                                2015), aff’d, 227 N.J. 7, 147 A.3d 434 (2016) (citing and            *3; Yuetter, 2017 WL 10775771, at *7; Patin,
                                applying Restatement (Second) of Conflict of Laws §                  294 F.3d at 645.
                                145 (1971) factors).

                                                   Choice-of-Law Rule: Any Significant Contact

     KY (1)     KY, TN21        Weingartner Lumber & Supply Co. v. Kadant                            In re Darvocet, Darvon & Propoxyphene Prod.
                                Composites, LLC, 2010 WL 996473, at *3-4 (E.D. Ky.                   Liab. Litig., 2012 WL 1345175, at *4 (E.D. Ky.
                                Mar. 16, 2010) (applying Kentucky law because                        Apr. 18, 2012) (granting motion to dismiss in an
                                “sufficient contacts exist to justify applying Kentucky              MDL and finding the rules of successor liability
                                law to the instant action” since plaintiff was domiciled             “inapplicable” and the concern underlying
                                in Kentucky and received the defective product in                    successor liability “not present” where the
                                Kentucky and “Kentucky’s conflict of law rules favor                 original entities “still exist” because the “law is
                                application of its own law whenever it can be justified”).           clear that ‘if the original entity still exists, there
                                                                                                     is no successor—and no successor liability’”)
                                                               ***                                   (internal citation omitted); Flake v. Schrader-
                                                                                                     Bridgeport Int’l, Inc., 538 F. App’x 604, 611 (6th
                                C-Ville Fabricating, Inc. v. Tarter, 2022 WL 896104, at              Cir. 2013) (applying Tennessee law and rejecting
                                *8 (E.D. Ky. Mar. 25, 2022) (stating Kentucky courts                 successor liability claim where the tortfeasor
                                “have consistently looked to Delaware cases when there               “continued to operate as a viable entity” and
                                is a dearth of corporate case law on a particular issue in           holding there can be “no successor liability[] if
                                Kentucky” and collecting Kentucky state court cases                  the predecessor corporation remains a viable
                                noting use of Delaware law for Kentucky corporate law                source for recourse”) (internal citation and
                                issues).                                                             quotations omitted).




21
          The Plaintiff who designated Kentucky as its Original District resides in Kentucky but alleges the implant surgery occurred in Tennessee. See App’x B.
Plaintiff’s successor liability theory fails regardless of whether Kentucky or Tennessee principles apply.



                                                                              17
